Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 1 of 20

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THIS ENDORSEMENT CHANGES YOUR
POLICY. PLEASE READ IT CAREFULLY.

Policy Number: 19001699759

Alfa Insurance’

P.O. BOX 11000 a
MONTGOMERY, AL 36191-0001 aN Da

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EXCLUSION - LEAD AND ASBESTOS

The following Exclusions are added to Section II - Liability, B. Exclusions:

Lead

This insurance does not apply to:

1.

"Bodily injury", "property damage", "personal injury", or "advertising injury" arising out of, resulting from, caused
by, or contributed to by the toxic or pathological properties of lead, lead compounds or lead contained in any
materials;

Any cost or expense to abate, mitigate, remove or dispose of lead, lead compounds or materials containing lead;

3. Any supervision, instructions, recommendations, warnings or advice given or which should have been given in
connection with parts 1 or 2 above; or
4. Any obligation to share damages with or repay someone else who must pay damages in connection with parts 1,
2 or 3 above.
Asbestos

This insurance does not apply to:

1.

"Bodily injury", "property damage", or "personal and advertising injury” arising out of, resulting from, caused by,
or coniributed to by asbestos, exposure to asbestos or the use of asbestos;

Any damages or any loss, cost or expense arising out of any (i) claim or "suit" by or on behalf of any
governmenial authority or any other alleged responsible party because of, or (ii) request, demand, order or
statutory or regulatory requirement that any insured or any other person or entity should be responsible for:

a. Assessing the presence, absence or amount or effects of asbestos;

b. Identifying, sampling or testing for, detecting, monitoring, cleaning up, removing, containing, treating,
detoxifying, neutralizing, abating, disposing of or mitigating asbestos; or

c. Responding to asbestos in any way other than as described in 2.a. and b. above;

Any supervision, instructions, recommendations, warnings or advice given or which should have been given in
connection with any of the subsections above; or

Any obligation to share damages with or repay someone else in connection with any of the subsections above of
lead.

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Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 3 of 20

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Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 4 of 20

BUSINESSOWNERS
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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

EXCLUSION — YEAR 2000 COMPUTER-RELATED AND
OTHER ELECTRONIC PROBLEMS

This endorsement modifies insurance provided under the following:

BUSINESSOWNERS COVERAGE FORM

The following exclusion is added to Paragraph B., (d) Computer networks;

Exclusions in Section II — Liability: (e) Microprocessors (computer chips)
1. This insurance does not apply to "bodily injury", not part of any computer system; or
"property damage" or "personal and advertising (f) Any other computerized or electronic
injury" arising directly or indirectly out of: equipment or components; or
a. Any actual or alleged failure, malfunction, or (2) Any other products and any services
inadequacy of: data or functions that directly or indirect-

(1) Any of the following, whether belonging ly use or rely upon, in any manner, any
to any insured or to others: of the items listed in Paragraph 1.a.(1)
(a) Computer hardware, including mi- of this endorsement

croprocessors or other Electronic due to the inability to correctly recognize,
Data Processing Equipment as may process, distinguish, interpret or accept the
be described elsewhere in the policy; year 2000 and beyond.

(b) Computer application software or b. Any advice, consultation, design, evalua-
other Electronic Media and Records tion, inspection, installation, maintenance,
as may be described elsewhere in repair, replacement or supervision provided
the policy; or done by you or for you to determine, rec-

: tify or test for, any potential or actual prob-
Cc t t t d
(c) vlated software. ing systems an lems described in Paragraph 1.a. of this
, endorsement.

BP 10 05 07 02 © ISO Properties, Inc., 2001 Page 1 of 1 oO
Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 5 of 20
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Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 6 of 20

BUSINESSOWNERS
BP 15 04 05 14

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

EXCLUSION — ACCESS OR DISCLOSURE OF

CONFIDENTIAL OR PERSONAL INFORMATION AND

DATA-RELATED LIABILITY — WITH LIMITED
BODILY INJURY EXCEPTION

This endorsement modifies insurance provided under the following:

BUSINESSOWNERS COVERAGE FORM

A. Exclusion B.1.q. of Section II — Liability is
replaced by the following:

This insurance does not apply to:
q. Access Or Disclosure Of Confidential Or

Personal Information And Data-related

Liability

(1) Damages, other than damages because
of "personal and advertising injury",
arising out of any access to or
disclosure of any person's” or
organization's confidential or personal
information, including patents, trade
secrets, processing methods, customer
lists, financial information, credit card
information, health information or any
other type of nonpublic information; or

(2) Damages arising out of the loss of, loss
of use of, damage to, corruption of,
inability to access, or inability to
manipulate electronic data.

This exclusion applies even if damages are
claimed for notification costs, credit
monitoring expenses, forensic expenses,
public relations expenses or any other loss,
cost or expense incurred by you or others
arising out of that which is described in
Paragraph (1) or (2) above.

However, unless Paragraph (1) above
applies, this exclusion does not apply to
damages because of "bodily injury".

As used in this exclusion, electronic data
means information, facts or computer
programs stored as or on, created or used
on, or transmitted to or from computer
software (including systems and
applications software), on hard or floppy
disks, CD-ROMs, tapes, drives, cells, data
processing devices or any other
repositories of computer software which are
used _ with electronically controlled
equipment. The term computer programs,
referred to in the foregoing description of
electronic data, means a set of related
electronic instructions which direct the
operations and functions of a computer or
device connected to it, which enable the
computer or device to receive, process,
store, retrieve or send data.

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Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 7 of 20
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BUSINESSOWNERS
BP 04 17 01 10

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
EMPLOYMENT-RELATED PRACTICES EXCLUSION

This endorsement modifies insurance provided under the following:

BUSINESSOWNERS COVERAGE FORM

The following exclusion is added to Paragraph B.1.
Exclusions — Applicable To Business Liability
Coverage in Section II — Liability:

This insurance does not apply to "bodily in-
jury" or "personal and advertising injury" to:

(1) A person arising out of any:
(a) Refusal to employ that person;

(b) Termination of that person's em-
ployment; or

(c) Employment-related practices, poli-
cies, acts or omissions, such as co-
ercion, demotion, evaluation, reas-
signment, discipline, defamation,
harassment, humiliation, discrimina-
tion or malicious prosecution § di-
rected at that person; or

(2)

The spouse, child, parent, brother or
sister of that person as a consequence
of "bodily injury" or "personal and adver-
tising injury" to that person at whom any
of the employment-related practices de-
scribed in Paragraph (a), (b) or (c)
above is directed.

This exclusion applies:

(1)

(2)
(3)

Whether the injury-causing event de-
scribed in Paragraph (a), (b) or (c)
above occurs before employment, dur-
ing employment or after employment of
that person;

Whether the insured may be liable as an
employer or in any other capacity; and

To any obligation to share damages with
or repay someone else who must pay
damages because of the injury.

BP 04 17 01 10 © Insurance Services Office, Inc., 2009 Page 1 of 1

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Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 9 of 20
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Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 10 of 20

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THIS ENDORSEMENT CHANGES YOUR
POLICY. PLEASE READ IT CAREFULLY.

Policy Number: 19001699759

Alfa Insurance’

P.O. BOX 11000 a
MONTGOMERY, AL 36191-0001 aN Da

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SEXUAL MISCONDUCT LIABILITY ENDORSEMENT

IV.

INSURING AGREEMENT

We agree to cover your legal liability for damages because of "injury" to any person arising out of "sexual
misconduct" which first commences during the policy period. The limits of liability for this endorsement are:

$ 500,000 each occurrence

$ 500,000 total damages

RELATIONSHIP OF THIS ENDORSEMENT TO THE BUSINESSOWNERS COVERAGE FORM

Except for the insurance provided by this endorsement, the Businessowners Coverage Form to which this
endorsement is attached does not apply to any claim or suit seeking damages arising out of any actual or
alleged act of "sexual misconduct." All other Businessowners Coverage Form provisions apply to this coverage
except as amended below.

PERSONS INJURED

The definition of "insured" in the Businessowners Coverage Form applies to this endorsement as well, except
that no persons are "insureds" hereunder if they personally participate in, direct, or knowingly allow to take
place, any act of "sexual misconduct."

LIMITS OF LIABILITY

Regardless of the number of "insureds" or the number of claims made or suits brought, our liability is limited as
follows:

A. Our total liability for all damages, within the policy period, because of all injury to which this endorsement
applies, shall not exceed the limits of liability stated in this endorsement as "total damages.”

B. Subject to the above provisions with respect to "total damages,” our total liability for all damages because
of all injury arising out of any one "occurrence" to which this endorsement applies shall not exceed the
limit of liability stated in this form as applicable to "each occurrence."

C. Regardless of the number of acts of "sexual misconduct," period of time over which such acts occur, or
number of persons acted upon, all injury arising out of all covered acts of "sexual misconduct” by any one
person, or by two or more persons acting together, will be considered one "occurrence."

D. If the act of "sexual misconduct" continues beyond one policy period, only the policy in effect when the act
first commences shall cover the "occurrence."

ADDITIONAL EXCLUSIONS
A. _Wedo not cover anyone who personally participates in, directs, or knowingly allows to take place, any

act of "sexual misconduct." We shall have no obligation or duty to investigate, defend, settle, or pay
judgments on behalf of any such person.

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Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 11 of 20

Endorsement

THIS ENDORSEMENT CHANGES YOUR
POLICY. PLEASE READ IT CAREFULLY.

Policy Number: 19001699759

We do not cover the cost of defense and investigation of, or the cost of settlements, judgments or fines
for, any person resulting from actual or alleged violation of any criminal statute, regardless of whether or
not criminal charges are actually filed.

We will not provide coverage if you fail to give us written notice within 60 days of your awareness of any
specific circumstances involving a particular person or persons likely to result in a claim or suit alleging
"sexual misconduct.”

Vi. ADDITIONAL DEFINITIONS

A.

B.

"Injury" means bodily injury, mental anguish, emotional distress, sickness or disease including death.

"Sexual misconduct" includes sexual molestation and sexual harassment. "Sexual misconduct" does not
include sexual discrimination of any type.

Vil. ADDITIONAL CONDITIONS

A.

SCH 218 01 18

You must give us written notice within 60 days of your awareness of any specific circumstances involving
a particular person or persons likely to result in a claim or suit alleging "sexual misconduct.” Notice must
include reasonably obtainable information with respect to the time, place and circumstances of the injury,
including the names and address of the injured and of available witnesses and the extent of the type of
claim anticipated.

Any of your duties in the events of an occurrence, claim or suit apply to your members, partners, officers,
directors, stockholders and employees as well. Violation by you or any of the persons named in Condition
B. above of any of the provisions of this endorsement shall result in a material breach of this insurance
and the specific coverage provided by this endorsement shall be considered void with regard to any claim
out of which the violation arises.
Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 12 of 20

BUSINESSOWNERS
BP 10 59 07 02

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

GEORGIA EXTERIOR PAINT AND WATERPROOFING
EXCLUSION

This endorsement modifies insurance provided under the following:

BUSINESSOWNERS COVERAGE FORM

Section | — Property is amended as follows: 2. We will not include the value of paint or wa-
A. If loss or damage to Covered Property is caused terproofing material to determine:

by or results from Windstorm, the following addi- a. The amount of the Deductible; or

tional exclusion applies: b. The value of Covered Property.

WINDSTORM EXTERIOR PAINT AND
WATERPROOFING EXCLUSION

1. We will not pay for loss or damage to:
a. Paint; or
b. Waterproofing material;
applied to the exterior of Buildings.

BP 10 59 07 02 © ISO Properties, Inc., 2001 Page 1 of 1 O
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Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 13 of 20

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THIS ENDORSEMENT CHANGES YOUR
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Policy Number: 19001699759

Alfa Insurance’

P.O. BOX 11000 a
MONTGOMERY, AL 36191-0001

BUSINESSOWNERS-CHURCH ENDORSEMENT

SECTION I - PROPERTY, A. Coverage, 1. Covered Property, a. Buildings is amended to include the following:

(7) Garages, storage or utility buildings, swimming pools, fences, pavements, retaining walls, bulkheads, piers,
wharves, docks and other appurtenant structures usual to “your” occupancy;

(8) The following property if attached to the building:
(a) Electronic Sound and Communication equipment; and

(ob) Seats, desks, tables, railings, alters, pulpits, lecterns, clocks, bells, chimes, baptistries, fire curtains, and
awnings of nonfabric construction.;

(9) The following property, whether attached to the building or not:
(a) Church pews; and
(b) Organs and pipes;

(10) Glass constituting a part of the building;

(11) Signs attached to the building or within 100 feet of the described premises; and

(12) Yard fixtures.

SECTION I - PROPERTY, A. Coverage, 1. Covered Property, b. Business Personal Property is amended to include the
following:

(6) Business Personal Property does not include any of the property described in a. above as Buildings if ‘you’ own
the Building. However, if ‘you’ are a tenant in the building or structure that ‘you’ do not own, Business Personal
Property coverage is extended to include property within the description of Buildings in a. (2), (3) and (9) above
that you could legally remove at the termination of the lease.

SECTION I - PROPERTY, A. Coverage, 5. Additional Coverages is amended to include the following:
Arson Reward
We will provide a reward of up to $7,500 for information which leads to an arson conviction in connection with a fire or

explosion loss covered under this policy. Regardless of the number of persons involved in providing this information, the
most we will pay under this Additional Coverage is $7,500 for any one arson conviction.

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Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 14 of 20

Endorsement

THIS ENDORSEMENT CHANGES YOUR
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Policy Number: 19001699759

SECTION I - PROPERTY, A. Coverage, 6. Coverage Extensions, b. Personal Property Off-premises is replaced with
the following:

b. Personal Property Off-premises

You may extend the insurance that applies to Business Personal Property to apply to covered Business Personal Property
that is temporarily at a location you do not own, lease or operate. This coverage extension does not apply to Business
Personal Property in or on a vehicle.

The most we will pay for loss or damage under this coverage extension is $15,000.

SECTION I - PROPERTY, A. Coverage, 6. Coverage Extensions, d. Personal Effecis is replaced with the following:
d. Personal Effects And Property Of Others
You may extend the insurance that applies to "your" Business Personal Property to apply to:

(1) Personal effects owned by "your" clergy, “your” officers, "your" directors or "your" employees, but this coverage
extension is limited to $2,500 per occurrence for any one individual; and

(2) Personal effects of others in "your" care, custody or conirol, but this coverage extension is limited to $1,000 per
occurrence for any one individual.

Subject to the limitations shown above, the most we will pay for loss or damage under this extension for each occurrence
is $15,000. Our payment for loss of or damage to personal property of others will only be for the account of the owner of
the property.

This extension does not apply to personal effects or property of others at any residence premises.

SECTION I - PROPERTY, A. Coverage, 6. Coverage Extensions is amended to include the following:
Property In Transit
This extension applies only to "your" Business Personal Property to which this form applies.

1. You may extend the insurance that applies to Business Personal Property to apply to "your" Business Property
in transit more than 100 feet from the described premises in the policy declarations. Property must be in or ona
motor vehicle you own, lease or operate while between points in the coverage territory.

2. Loss or damage must be caused by or result from one of the following causes of loss:

(i) The "Specified Perils", plus flood, earthquake, volcanic eruption, or land-slide.

(ii) Vehicle collision, upset, overturn or derailment. Collision means accidental contact of "your" vehicle with
another vehicle or object. It does not mean "your" vehicle's contact with the road bed.

(iii) Theft of an entire bale, case or package by forced eniry into a securely locked body or compartment of
the vehicle. There must be visible marks of the forced entry.

3. The most we will pay for loss or damage under this Extension is $15,000 for any one occurrence.

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Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 15 of 20

Endorsement

THIS ENDORSEMENT CHANGES YOUR
POLICY. PLEASE READ IT CAREFULLY.

Policy Number: 19001699759

SECTION I - PROPERTY, E. Property Loss Conditions, 2. Appraisal is replaced with the following:
This condition applies only if a covered loss has occurred.

If you and we fail to agree on the amount of a covered loss, either one can demand that the amount of loss be set by
appraisal. If either makes a written demand for appraisal, each shall select a competent, independent appraiser. Each
shall notify the other of the appraiser's identity within 20 days of receipt of the written demand. The two appraisers shall
then select a competent, impartial umpire. If the two appraisers are unable to agree upon an umpire within 15 days,
you or we can ask a judge of a court of record in the state where the insured location is located to select an umpire.
The appraisers shall then set the amount of the loss. If the appraisers submit a written report of an agreement to us,
the amount agreed upon shall be the amount of the loss. If the appraisers fail to agree within a reasonable time, they
shall submit their differences to the umpire. Written agreement signed by any two of these three shall set the amount
of the loss. Each appraiser shall be paid by the party selecting that appraiser. Other expenses of the appraisal and the
compensation of the umpire shall be paid equally by you or us.

SECTION I - PROPERTY, G. Optional Coverages, 3. Employee Dishonesty is added to "your" policy. The most we
will pay for loss or damage in any one occurrence is $5,000, unless a higher limit is shown on "your" policy declarations.
The payment of the cost of replacing securities shall not be more than the market value at the close of business on the
business day preceding the day on which the loss was discovered. All other provisions of the policy apply.

The following is added to SECTION II - LIABILITY:

Liability And Medical Expenses Extensions Of Coverage

1. "Incidental Medical Malpractice Liability". The definition of "bodily injury” is amended to include "Incidental
Medical Malpractice Injury”.

a. "Incidental Medical Malpractice Injury” means injury arising out of the rendering of or failure to render,
during the policy period, the following services:

(1) medical, surgical, dental, x-ray or nursing service or treatment or the furnishing of food or beverages in
connection therewith; or

(2) the furnishing or dispensing of drugs or medical, dental or surgical supplies or appliances.

b. This coverage does not apply to anyone engaged in the business or occupation of providing any of the
services described above.

2. Volunteer Labor. Coverage for Medical Expenses is extended to include "bodily injury" to any authorized or
duly appointed "volunteer worker" or person while engaged in maintenance, repair, alterations, demolition or
new construction at the insured premises. Persons donating their labor shall in no event include employees
of the insured nor any person who receives a fee, salary or other compensation, from any source, for such
maintenance, repair, alterations, demolition or new construction.

3. Athletic Activity. Coverage for Medical Expenses includes coverage for "bodily injury" to any person practicing,
instructing or participating in any church-sponsored athletic activity which is organized, managed or conirolled
by you or on "your" behalf. This coverage applies as excess insurance over any other insurance available to the
injured person up to the policy limits shown in the Declarations for Medical Expenses.

4. Students. Coverage for Medical Expenses includes coverage for "bodily injury” to students of any college,
day nursery, or school (except Sunday School) owned and operated by you or on "your" behalf. This coverage
applies as excess insurance over any other insurance available to the student up to the limits shown in the
Declarations for Medical Expenses.

SCH 200 01 18
Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 16 of 20

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THIS ENDORSEMENT CHANGES YOUR
POLICY. PLEASE READ IT CAREFULLY.

Policy Number: 19001699759

The following Exclusions are added to SECTION II - LIABILITY, B. Exclusions:

Corporal Punishment

"Bodily injury", "property damage", or "personal and advertising injury" to any student or pupil arising out of any corporal
punishment administered by or at the direction of any insured.

Sexual Misconduct

Any "personal and advertising injury", "bodily injury", or mental or emotional pain or anguish sustained by any person
arising out of or resulting from any actual or alleged act of sexual misconduct of any kind.

Sexual misconduct includes, but is not limited to, sexual molestation and sexual harassment.

SECTION II - LIABILITY, C. Who Is An Insured is deleted and replaced with the following:

C. Who ls An Insured

1. If you are designated in the Declarations as:

a.

b.

An individual, you and "your" spouse are insureds, but only with respect to the conduct of a business of
which you are the sole owner.

A partnership or joint venture, you are an insured. "Your" members, "your" partners and their spouses
are also insureds, but only with respect to the conduct of "your" business.

An organization other than a partnership or joint venture or limited liability company, you are an insured.
"Your" executive officers and directors are insureds, but only with respect to their duties as "your" officers
or directors. "Your" stockholders are also insureds, but only with respect to their liability as stockholders.
A limited liability company, you are an insured. "Your" members are also insureds, but only with respect
to the conduct of "your" business. "Your" managers are insureds, but only with respect to their duties as
"your" managers.

A trust, you are an insured. "Your" trustees are also insureds, but only with respect to their duties as
trustees.

2. Each of the following is also an insured:

a.
b.

Any person (other than "your" employee), or any organization while acting as "your" real estate manager.
Any of the following, but only while acting in the scope of their duties as such:

(1) Any clergy or minister;

(2) Any board, council or committee member;

(3) Any trustee, official, deacon, elder, superintendent, teacher, vestry, warden, or volunteer who is
duly appointed or elected;

(4) Any of "your" employees, while in the course of their employment;
(5) Any other members for activities they perform on "your" behalf.

3. Any church organization authorized or controlled by you, including organizations you newly acquire or form
if there is no other similar insurance available to that organization. Coverage for newly acquired or formed
organizations does not apply to offenses committed before you acquire or form the organization.

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Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 17 of 20

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THIS ENDORSEMENT CHANGES YOUR
POLICY. PLEASE READ IT CAREFULLY.

Policy Number: 19001699759

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P.O. BOX 11000 a
MONTGOMERY, AL 36191-0001 aN Da

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DIRECTORS, OFFICERS AND TRUSTEES LIABILITY ENDORSEMENT

I. INSURING AGREEMENT

For an additional premium, we will pay all sums which the "insured" shall become legally obligated to pay as
damages because of "wrongful acts" committed solely in the conduct of church management.

Il. AMENDED DEFINITION

When used in this endorsement:

“insured” means:

1.

Your directors, officers, and trustees collectively, and each director, officer and trustee individually, while
acting within the scope of their duties on your behalf.

2. You, with respect to your liability because of wrongful acts committed by such directors, officers and
trustees.
Ill. ADDITIONAL DEFINITIONS

When used in this endorsement:

1.

aggregate means, subject to the provision for occurrence, the total limit of this Company's liability for all
damages during each year of the term of this policy.

“directors, officers and trustees” means those individuals who form your managing or administrative body
provided that each individual is duly elected by your members.

"occurrence" means a "wrongful act", including related conduct, committed during the policy period which
results in a claim. A "wrongful act” prior to the term of this option is included provided that the insured
had no knowledge of a claim or suit at the effective date of this option and there is no other insurance
applicable.

"wrongful acts" means any actual or alleged error, misstatement, omission, breach of duty or negligent
act, directly related to the discharge of church administrative and managerial duties.

IV. ADDITIONAL EXCLUSIONS

The insurance does not apply to:

1.

2.

SCH 213 01 18

any dishonest, fraudulent, criminal or malicious act, including fines and penalties resulting therefrom;

"bodily injury", "property damage", "personal injury" or "advertising injury" liability;
Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 18 of 20

Endorsement

THIS ENDORSEMENT CHANGES YOUR
POLICY. PLEASE READ IT CAREFULLY.

Policy Number: 19001699759

3. Profits or losses, including an accounting thereof, resulting from the purchase or sale of any securities;

4. _ salaries, compensation, or bonuses of employees, directors, officers or trustees;

5. any failure to effect, maintain or procure any insurance policy or bond, including any failure to obtain
proper amounts, forms, conditions or provisions on any insurance policy or bond; and also including any
failure to properly select the company that underwrites the insurance or bond or the agent who writes the
insurance or bond.

6. damages arising out of any transaction of the insured from which such insured shall have gained any
personal profit or advantage which is not shared equitably by the church members;

7. Any actual or alleged violation of any civil rights law, whether Federal, State, or local, including but not
limited to discrimination on account of race, religion, sex or age;

8. Any actual or alleged violation of the responsibilities, obligations, or dates imposed by the Employee
Retirement Income Security Act of 1974 and subsequent amendments, or similar provisions of any
Federal, State or local statutory or common law.
Vv. LIMITS OF LIABILITY
The limits of liability for this endorsement are shown below. All wrongful acts committed by one person, or
by two or more persons acting together, will be considered one occurrence, regardless of the period of time

over which such acts occur or the number of persons injured. The inclusion of more than one insured shall not
increase the limits of the Company's liability.

$250,000 each occurrence
$250,000 aggregate

All other Section II provisions of the policy, except as amended by this endorsement, shall apply to this
coverage.

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Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 19 of 20

POLICY NUMBER: 19001699759

BUSINESSOWNERS
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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
HIRED AUTO AND NON-OWNED AUTO LIABILITY

This endorsement modifies insurance provided under the following:

BUSINESSOWNERS COVERAGE FORM

SCHEDULE
Coverage Additional Premium
A. Hired Auto Liability $ 43.00
B. Non-owned Auto Liability $121.00
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Insurance is provided only for those coverages for
which a specific premium charge is shown in the
Declarations or in the Schedule.

1. Hired Auto Liability

The insurance provided under Paragraph A.1.
Business Liability in Section II — Liability
applies to "bodily injury" or "property damage"
arising out of the maintenance or use of a
“hired auto" by you or your "employees" in the
course of your business.

2. Non-owned Auto Liability

The insurance provided under Paragraph A.1.
Business Liability in Section II — Liability
applies to "bodily injury" or "property damage"
arising out of the use of any "non-owned auto”
in your business by any person.

B. For insurance provided by this endorsement only:

1. The exclusions under Paragraph B.1. Appli-
cable To Business Liability Coverage in
Section II — Liability, other than Exclusions a.,
b., d., f. and i. and the Nuclear Energy Liabil-
ity Exclusion, are deleted and replaced by the
following:

a. "Bodily injury" to:

(1) An "employee" of the insured arising out
of and in the course of:

(a) Employment by the insured; or

(b) Performing duties related to the
conduct of the insured's business; or

(2) The spouse, child, parent, brother or
sister of that "employee" as a conse-
quence of Paragraph (1) above.

This exclusion applies:

(1) Whether the insured may be liable as an
employer or in any other capacity; and

(2) To any obligation to share damages with
or repay someone else who must pay
damages because of injury.

This exclusion does not apply to:

(1) Liability assumed by the insured under
an "insured contract"; or

(2) "Bodily injury" arising out of and in the
course of domestic employment by the
insured unless benefits for such injury
are in whole or in part either payable or
required to be provided under any work-
ers' compensation law.

b. "Property damage" to:

(1) Property owned or being transported by,
or rented or loaned to the insured; or

(2) Property in the care, custody or control
of the insured.

BP 04 04 01 10 © Insurance Services Office, Inc., 2009 Page 1 of 2

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Page 2 of 2

Case 1:23-mi-99999-UNA Document 122-4 Filed 01/13/23 Page 20 of 20

2. Paragraph C. Who Is An Insured in Section II

— Liability is replaced by the following:

1. Each of the following is an insured under
this endorsement to the extent set forth be-
low:

a. You;

b. Any other person using a "hired auto"
with your permission;

c. For a "non-owned auto":

(1) Any partner or "executive officer" of
yours; or

(2) Any "employee" of yours;

but only while such "non-owned auto" is
being used in your business; and

d. Any other person or organization, but
only for their liability because of acts or
omissions of an insured under a., b. or
c. above.

2. None of the following is an insured:

a. Any person engaged in the business of
his or her employer for "bodily injury" to
any co-"employee" of such person in-
jured in the course of employment, or to
the spouse, child, parent, brother or sis-
ter of that co-"employee" as a conse-
quence of such “bodily injury", or for any
obligation to share damages with or re-
pay someone else who must pay dam-
ages because of the injury;

b. Any partner or "executive officer" for any
“auto” owned by such partner or officer
or a member of his or her household;

c. Any person while employed in or other-
wise engaged in duties in connection
with an "auto business", other than an
"auto business" you operate;

d. The owner or lessee (of whom you are a
sublessee) of a "hired auto" or the
owner of a "non-owned auto" or any
agent or "employee" of any such owner
or lessee; or

e. Any person or organization for the con-
duct of any current or past partnership
or joint venture that is not shown as a
Named Insured in the Declarations.

C. For the purposes of this endorsement only, Para-
graph H. Other Insurance in Section Ill — Com-
mon Policy Conditions is replaced by the follow-
ing:

This insurance is excess over any primary insur-
ance covering the “hired auto” or "non-owned
auto".

D. The following additional definitions apply:

1. "Auto business" means the business or occu-
pation of selling, repairing, servicing, storing or
parking "autos".

2. "Hired auto" means any "auto" you lease, hire,
rent or borrow. This does not include any
"auto" you lease, hire, rent or borrow from any
of your "employees", your partners or your "ex-
ecutive officers" or members of their house-
holds.

3. "Non-owned auto" means any "auto" you do
not own, lease, hire, rent or borrow which is
used in connection with your business. This in-
cludes "autos" owned by your "employees",
your partners or your "executive officers", or
members of their households, but only while
used in your business or your personal affairs.

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